Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 1 of 16




          Exhibit A
                                                                                                       E-FILED IN OFFICE - EP
                        Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 2 of 16              CLERK OF STATE COURT
                                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                                            21-C-04830-S2
                                                                                                         7/2/2021 9:45 AM
                                                                                                     TIANA P. GARNER, CLERK

                                   IN THE STATE COURT OF GWINNETT COUNTY
                                              STATE OF GEORGIA

             SHIRLEY P. CORBIN,                  )
                                                 )
                   Plaintiff,                    )
                                                 )
             v.                                  )               CIVIL ACTION
                                                 )               FILE NO:
             FAMILY DOLLAR STORES OF             )
             GEORGIA, INC., DOLLAR TREE          )               21-C-04830-S2
             STORES, INC., MBC GRINGS HILL LP, )
             XYZ CO., ABC CO.,                   )
                                                 )
                   Defendants.                   )
             ____________________________________)

                                                      COMPLAINT

                     COMES NOW, SHIRLEY P. CORBIN (Plaintiff), by and through the undersigned counsel

             and hereby files this Complaint against FAMILY DOLLAR STORES OF GEORGIA, INC.

             (“Defendant Family Dollar”), DOLLAR TREE STORES, INC. (“Defendant Dollar Tree”) , MBC

             GRINGS HILL LP (“Defendant MBC”), and shows this Honorable Court as following:

                                                     INTRODUCTION

                     The preceding paragraphs and allegations are hereby incorporated herein by reference as

             if fully set forth herein.

                                                            1.

                     Served with this Complaint are Plaintiff’s Interrogatories to Defendants, Plaintiff’s

             Request of Production to Defendants, and Plaintiff’s Request for Admission to Defendants.

                                          PARTIES, JURISDICTION AND VENUE

                     The preceding paragraphs and allegations are hereby incorporated herein by reference as

             if fully set forth herein.




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                        Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 3 of 16




                                                              2.

                    Plaintiff is an individual and resident of DeKalb County, Georgia and submits to the

             jurisdiction and venue of this Court.

                                                              3.

                    Jurisdiction is proper at to Defendant Family Dollar because Defendant is registered to do

             business in the state of Georgia.

                                                              4.

                    Venue is proper as to Defendant Family Dollar because it’s registered agent is located

             within Gwinnett County, Georgia. Defendant Family Dollar is a foreign corporation existing under

             the laws of Virginia with its principal place of business in Virginia, and may be served with a copy

             of this Complaint and Summons through its registered agent, Corporation Service Company, at 2

             Sun Court, Suite 400, Peachtree Corners, GA, 30092.

                                                              5.

                  Jurisdiction is proper at to Defendant Dollar Tree because Defendant is registered to do

             business in the state of Georgia.

                                                              6.

                    Venue is proper as to Defendant Dollar Tree because it’s registered agent is located within

             Gwinnett County, Georgia. Defendant Dollar Tree is a foreign corporation existing under the laws

             of Virginia with its principal place of business in Virginia, and may be served with a copy of this

             Complaint and Summons through its registered agent, Corporation Service Company, at 2 Sun

             Court, Suite 400, Peachtree Corners, GA, 30092.

                                                              7.

                    Jurisdiction is proper at to Defendant MBC because Defendant is registered to do




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                        Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 4 of 16




             business in the state of Georgia.

                                                              8.

                    Venue is proper as to Defendant MBC because it is proper as to Defendant Family Dollar.

             Defendant MBC is a foreign corporation existing under the laws of Pennsylvania with its principal

             place of business in Pennsylvania, and may be served with a copy of this Complaint and Summons

             through its registered agent, National Registered Agents, Inc., at 289 S. Culver Street,

             Lawrenceville, GA, 30046.

                                            FACTS APPLICABLE TO ALL CLAIMS

                    Plaintiff hereby incorporates by reference the allegations contained in this Complaint for

             Damages and reassert said allegations as if fully set forth herein.

                                                              9.

                    On or about July 14, 2019, the date of her injuries, Plaintiff was an invitee of Defendant

             MBC in accordance with the provisions of O.C.G.A. § 51-3-1, et seq., while shopping at the Family

             Dollar located at 2500 Snapfinger Road, Decatur, Georgia 30034, store #8474-08474 (hereinafter

             “the premises”), which is operated by Defendant Dollar Tree and Defendant Family Dollar.

                                                              10.

                    Plaintiff, while a lawful invitee on the premises, was walking with her shopping cart inside

             the premises when the cart ran over unattended bags of candy on the floor, causing the cart to flip

             over and knock her to the ground, causing Plaintiff to sustain significant bodily injuries, requiring

             extensive and subsequent medical treatment.

                               COUNT I – NEGLIGENCE AS TO DEFENDANT FAMILY DOLLAR

                    Plaintiff hereby incorporates by reference the allegations contained in this Complaint for

             Damages and reassert said allegations as if fully set forth herein.




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                        Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 5 of 16




                                                             11.

                    The Defendant failed to meet common law and statutory duties pursuant to O.C.G.A. §§

             51-3-1 and 51-3-2, et al., to exercise ordinary care in keeping the premises and approaches safe

             and to protect Plaintiff from unreasonable risks of foreseeable harm.

                                                             12.

                    The Defendant was negligent in failing to keep the premises safe and in repair, as required

             by law. As the direct and proximate result of Defendant’s negligence in failing to keep the premises

             safe, Plaintiff tripped over unattended bags of candy on the floor, causing her to sustain injuries,

             including bodily injury, pain and suffering.

                                                             13.

                    As a direct and proximate result of Defendant’s negligence, Plaintiff incurred medical

             expenses, in an amount to be proven at trial, for the treatment of the injuries Plaintiff sustained

             that were caused solely and proximately by Defendant’s negligence.

                                                             14.

                    As a direct and proximate result of the Defendant’s negligence, Plaintiff will incur future

             medical expenses, in an amount to be proven at trial, for the treatment of the injuries caused solely

             by the negligence of the Defendant’s.

                                                             15.

                    As a direct and proximate result of the Defendant’s negligence, Plaintiff incurred lost

             wages in an amount to be proven at trial.

                                                             16.

                    Plaintiff is entitled to recover of Defendant such reasonable sums as compensatory, general

             and special damages as may be shown by the evidence.




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                        Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 6 of 16




                                                               17.

                    The Defendant had actual or constructive knowledge of the condition or conditions on the

             premises which led to the Plaintiff’s injuries.

                                                               18.

                    Plaintiff was without fault in causing the aforementioned incident.

                                COUNT I – NEGLIGENCE AS TO DEFENDANT DOLLAR TREE

                    Plaintiff hereby incorporates by reference the allegations contained in this Complaint for

             Damages and reassert said allegations as if fully set forth herein.

                                                               19.

                    The Defendant failed to meet common law and statutory duties pursuant to O.C.G.A. §§

             51-3-1 and 51-3-2, et al., to exercise ordinary care in keeping the premises and approaches safe

             and to protect Plaintiff from unreasonable risks of foreseeable harm.

                                                               20.

                    The Defendant was negligent in failing to keep the premises safe and in repair, as required

             by law. As the direct and proximate result of Defendant’s negligence in failing to keep the premises

             safe, Plaintiff tripped over unattended bags of candy on the floor, causing her to sustain injuries,

             including bodily injury, pain and suffering.

                                                               21.

                    As a direct and proximate result of Defendant’s negligence, Plaintiff incurred medical

             expenses, in an amount to be proven at trial, for the treatment of the injuries Plaintiff sustained

             that were caused solely and proximately by Defendant’s negligence.

                                                               22.

                    As a direct and proximate result of the Defendant’s negligence, Plaintiff will incur future




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                        Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 7 of 16




             medical expenses, in an amount to be proven at trial, for the treatment of the injuries caused solely

             by the negligence of the Defendant’s.

                                                               23.

                    As a direct and proximate result of the Defendant’s negligence, Plaintiff incurred lost

             wages in an amount to be proven at trial.

                                                               24.

                    Plaintiff is entitled to recover of Defendant such reasonable sums as compensatory, general

             and special damages as may be shown by the evidence.

                                                               25.

                    The Defendant had actual or constructive knowledge of the condition or conditions on the

             premises which led to the Plaintiff’s injuries.

                                                               26.

                    Plaintiff was without fault in causing the aforementioned incident.

                                     COUNT I – NEGLIGENCE AS TO DEFENDANT MBC

                    Plaintiff hereby incorporates by reference the allegations contained in this Complaint for

             Damages and reassert said allegations as if fully set forth herein.

                                                               27.

                    The Defendant failed to meet common law and statutory duties pursuant to O.C.G.A. §§

             51-3-1 and 51-3-2, et al., to exercise ordinary care in keeping the premises and approaches safe

             and to protect Plaintiff from unreasonable risks of foreseeable harm.

                                                               28.

                    The Defendant was negligent in failing to keep the premises safe and in repair, as required

             by law. As the direct and proximate result of Defendant’s negligence in failing to keep the premises




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                        Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 8 of 16




             safe, Plaintiff tripped over unattended bags of candy on the floor, causing her to sustain injuries,

             including bodily injury, pain and suffering.

                                                               29.

                    As a direct and proximate result of Defendant’s negligence, Plaintiff incurred medical

             expenses, in an amount to be proven at trial, for the treatment of the injuries Plaintiff sustained

             that were caused solely and proximately by Defendant’s negligence.

                                                               30.

                    As a direct and proximate result of the Defendant’s negligence, Plaintiff will incur future

             medical expenses, in an amount to be proven at trial, for the treatment of the injuries caused solely

             by the negligence of the Defendant’s.

                                                               31.

                    As a direct and proximate result of the Defendant’s negligence, Plaintiff incurred lost

             wages in an amount to be proven at trial.

                                                               32.

                    Plaintiff is entitled to recover of Defendant such reasonable sums as compensatory, general

             and special damages as may be shown by the evidence.

                                                               33.

                    The Defendant had actual or constructive knowledge of the condition or conditions on the

             premises which led to the Plaintiff’s injuries.

                                                               34.

                    Plaintiff was without fault in causing the aforementioned incident.




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                    WHEREFORE, the Plaintiff prays:

             1.     That Defendant be served with summons, process and a copy of this Complaint

                    as provided by law;

             2.     That Plaintiff obtain judgment against the Defendant for general and special damages as

                    determined at trial as well as costs of litigation and expenses;

             3.     That the Plaintiff be granted a trial by jury as to all triable issues in this cause; and

             4.     For such other and further relief as this Court deems just and equitable under all

                    circumstances alleged and contained herein.

                    This 1st day of July, 2021.

                                                                    HAUG LAW GROUP, LLC

                                                                    /s/ William J. Collins_____________
                                                                    William J. Collins
                                                                    Georgia Bar No.: 161672
                                                                    Attorney for Plaintiff
             8237 Dunwoody Place
             Atlanta, Georgia 30350
             Phone: 1-844-428-4528
             Fax: 678-528-2999
             Email: William@HaugLawGroup.com




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                          Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 10 of 16                                               CLERK OF STATE COURT
                                                                                                                                     GWINNETT COUNTY, GEORGIA
                                   General Civil and Domestic Relations Case Filing Information Form                                             21-C-04830-S2
                                                                                                                                              7/2/2021 9:45 AM
                                                                                                                                         TIANA P. GARNER, CLERK
                                                                       GWINNETT
                                        ☐ Superior or ☐ State Court of ______________________________ County

              For Clerk Use Only
                                                                                                         21-C-04830-S2
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      CORBIN, SHIRLEY P.                                                             __________________________________________________
                                                                                     FAMILY DOLLAR STORES OF GEORGIA, INC.
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix    Prefix
      __________________________________________________                             __________________________________________________
                                                                                     DOLLAR STORES INC.
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix    Prefix
      __________________________________________________                             __________________________________________________
                                                                                     MBC Grings Hill, LP
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix    Prefix
      __________________________________________________                             __________________________________________________
                                                                                     ABC CO.
      Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix    Prefix

                           WILLIAM J. COLLINS
      Plaintiff’s Attorney ________________________________________                  161672
                                                                    State Bar Number __________________ Self-Represented ☐

                                Check one case type and one sub-type in the same box (if a sub-type applies):

              General Civil Cases
                                                                                              Domestic Relations Cases
              ☐           Automobile Tort
              ☐           Civil Appeal                                                        ☐            Adoption
              ☐           Contempt/Modification/Other                                         ☐            Contempt
                          Post-Judgment                                                                    ☐ Non-payment of child support,
              ☐           Contract                                                                         medical support, or alimony
              ☐           Garnishment                                                         ☐            Dissolution/Divorce/Separate
              ☐           General Tort                                                                     Maintenance/Alimony
              ☐           Habeas Corpus                                                       ☐            Family Violence Petition
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Modification
              ☐           Landlord/Tenant                                                                  ☐ Custody/Parenting Time/Visitation
              ☐           Medical Malpractice Tort                                            ☐            Paternity/Legitimation
              ☐           Product Liability Tort                                              ☐            Support – IV-D
              ☐           Real Property                                                       ☐            Support – Private (non-IV-D)
              ☐           Restraining Petition                                                ☐            Other Domestic Relations
              ☐           Other General Civil

      ☐       Check if the action is related to another action pending or previously pending in this court involving some or all of
              the same: parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in OCGA § 9-11-7.1.

      ☐       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

              ________________________________ Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                                 Version 1.1.20



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                       Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 11 of 16                             CLERK OF STATE COURT
                                                                                                                GWINNETT COUNTY, GEORGIA
                                                                                                                          21-C-04830-S2
                                   IN THE STATE COURT OF GWINNETT COUNTY                                               7/2/2021 9:45 AM
                                                                                                                    TIANA P. GARNER, CLERK

                                                       STATE OF GEORGIA
      SHIRLEY P. CORBIN
      _______________________________________

      _______________________________________
                                                                                          CIVIL ACTION
      _______________________________________                                             NUMBER:

                                       PLAINTIFF


                            VS.

      FAMILY DOLLAR STORES OF GEORGIA,
      _______________________________________               INC.,

      DOLLAR STORES INC.,
      _______________________________________

      MBC GRINGS HILL, LP., XYZ CO., ABC
      _______________________________________            CO.

                                      DEFENDANT




                                                              SUMMONS

      TO THE ABOVE NAMED DEFENDANT:               FAMILY DOLLAR STORES OF GEORGIA, INC.
        You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
      and address is:
                                                    William J. Collins
                                                    Haug Law Group
                                                    8237 Dunwoody Place,
                                                    Building 18
                                                    Atlanta, GA 30350

      an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
      the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

      This _________________ day of ____________________________________,             20_____.


                                                                                 Richard T. Alexander, Jr.,
                                                                                 Clerk of State Court



                                                                                 By
                                                                                                 Deputy Clerk

      INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

      SC-1 Rev. 2011




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                       Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 12 of 16                             CLERK OF STATE COURT
                                                                                                                GWINNETT COUNTY, GEORGIA
                                                                                                                          21-C-04830-S2
                                   IN THE STATE COURT OF GWINNETT COUNTY                                               7/2/2021 9:45 AM
                                                                                                                    TIANA P. GARNER, CLERK

                                                       STATE OF GEORGIA
      SHIRLEY P. CORBIN
      _______________________________________

      _______________________________________
                                                                                          CIVIL ACTION 21-C-04830-S2
      _______________________________________                                             NUMBER:

                                       PLAINTIFF


                            VS.

      FAMILY DOLLAR STORES OF GEORGIA,
      _______________________________________               INC.,

      DOLLAR STORES INC.,
      _______________________________________

      MBC GRINGS HILL, LP., XYZ CO., ABC
      _______________________________________            CO.

                                      DEFENDANT




                                                              SUMMONS

      TO THE ABOVE NAMED DEFENDANT:               MBC Grings Hill, LP
        You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
      and address is:
                                                    William J. Collins
                                                    Haug Law Group
                                                    8237 Dunwoody Place,
                                                    Building 18
                                                    Atlanta, GA 30350

      an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
      the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
              2ND                                    JULY
      This _________________ day of ____________________________________,             20_____.
                                                                                         21

                                                                                 TIANA P. GARNER
                                                                                 Richard T. Alexander, Jr.,
                                                                                 Clerk of State Court



                                                                                 By
                                                                                                 Deputy Clerk

      INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

      SC-1 Rev. 2011




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                                                                                                                     E-FILED IN OFFICE - GH
                       Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 13 of 16                             CLERK OF STATE COURT
                                                                                                                GWINNETT COUNTY, GEORGIA
                                                                                                                          21-C-04830-S2
                                   IN THE STATE COURT OF GWINNETT COUNTY                                               7/6/2021 1:33 PM
                                                                                                                   TIANA P. GARNER, CLERK

                                                       STATE OF GEORGIA
      SHIRLEY P. CORBIN
      _______________________________________

      _______________________________________
                                                                                          CIVIL ACTION
      _______________________________________                                             NUMBER:

                                       PLAINTIFF


                            VS.

      FAMILY DOLLAR STORES OF GEORGIA,
      _______________________________________               INC.,

      DOLLAR STORES INC.,
      _______________________________________

      MBC GRINGS HILL, LP., XYZ CO., ABC
      _______________________________________            CO.

                                      DEFENDANT




                                                              SUMMONS

      TO THE ABOVE NAMED DEFENDANT:               DOLLAR STORES INC.
        You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
      and address is:
                                                    William J. Collins
                                                    Haug Law Group
                                                    8237 Dunwoody Place,
                                                    Building 18
                                                    Atlanta, GA 30350

      an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
      the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
            6                          JULY                                             21
      This _________________ day of ____________________________________,             20_____.


                                                                                 Richard T. Alexander, Jr.,
                                                                                 Clerk of State CourtTIANA P. GARNER



                                                                                 By
                                                                                                 Deputy Clerk

      INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

      SC-1 Rev. 2011




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                    Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 14 of 16 CLERK OF STATE COURT
                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                           21-C-04830-S2
                                                                                       7/12/2021 9:39 AM
                                                                                    TIANA P. GARNER, CLERK




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                    Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 15 of 16 CLERK OF STATE COURT
                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                           21-C-04830-S2
                                                                                       7/12/2021 9:43 AM
                                                                                    TIANA P. GARNER, CLERK




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                    Case 1:21-cv-03160-TWT Document 1-1 Filed 08/04/21 Page 16 of 16 CLERK OF STATE COURT
                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                           21-C-04830-S2
                                                                                       7/12/2021 9:43 AM
                                                                                    TIANA P. GARNER, CLERK




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